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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                   EASTERN DIVISION

STEPHANIE ROWELL,                                  )
                                                   )
                         Plaintiff,                )
                                                   )
v.                                                 )             CIVIL ACTION NO.
                                                   )             3:15-cv-00143-SRW
AFNI, INC.,                                        )
                                                   )
                         Defendant.                )
                                                   )

                                      NOTICE OF SETTLEMENT

          COMES NOW defendant Afni, Inc. ("Defendant"), by and through its undersigned

counsel, and hereby informs the Court that a settlement of the present matter has been reached as

to all claims of plaintiff Stephanie Rowell against Defendant.

          Defendant, therefore, requests that this Honorable Court vacate all dates currently set on

calendar for the present matter and give the parties 30 days to file the necessary dismissal papers.

          Respectfully submitted this 14th day of April, 2015.


                                               s/ Alan D. Leeth
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                                               R. Frank Springfield (SPR024)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of April, 2015, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

                                       Charles M. Ingrum
                                         P. O. Box 229
                                       Opelika, AL 36803



    I hereby certify that I have mailed by United States Postal Service the foregoing document to
the following non-CM/ECF participants: N/A                              .


                                             s/ Alan D. Leeth
                                             OF COUNSEL




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